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Form CGFD62 (9/19/08)


                                         United States Bankruptcy Court
                                           Southern District of Florida
                                             www.flsb.uscourts.gov


Case Number: 16−25954−LMI                                                       Adversary Number: 17−01234−LMI


In re:

Name of Debtor(s): Jorge Hane

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Coltefinanciera, S.A. and Blue Bank International, N.V.
Plaintiff(s)
VS.

Jorge Hane

Defendant(s)
−−−−−−−−−−−−−−−−−−−−−−−−−−−−−−−−−−−−−−−−−−−−−−−/




                     NOTICE OF ENTRY ON DOCKET OF JUDGMENT/ORDER



Notice is hereby provided pursuant to Bankruptcy Rule 9022 that the Judgment/Order titled Final
Judgment (copy attached) was entered on the docket on 07/01/2019 .



Dated: 7/1/19                                                       CLERK OF COURT
                                                                    By: Ida Barr
                                                                    Deputy Clerk (305) 714−1800




The clerk shall serve a copy of this notice on all interested parties.
